        Case 1:17-cv-02989-AT Document 1747-1 Filed 12/18/23 Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                               )
______________________________,
CURLING, ET AL.                                )
                           Plaintiff(s)        )
                                               )      Case No. 1:17-CV-2989
                V.                             )
                                               )
______________________________,
RAFFENSBERGER, ET AL.                          )
                      Defendant(s)             )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
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Office public terminal.
                 ______________
                 12/18/2023               __________________________________
                                          Shannon R. Welch, RMR, CRR
                        Date                           Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:       ______________________________________________
                              PRETRIAL CONFERENCE
                              ______________________________________________
       Proceeding Date:       ______________________________________________
                              12/15/23
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       Volume Number:         ______________________________________________
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      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): DAVID CROSS, BRUCE BROWN, VINCENT RUSSO

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                 ______________
                 12/18/2023               __________________________________
                                          Shannon R. Welch, RMR, CRR

                        Date                            Court Reporter
